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                               UNITED STATES COURT OF APPEALS
                                    FOR THE SIXTH CIRCUIT
                                   100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt                POTTER STEWART U.S. COURTHOUSE                     Tel. (513) 564-7000
       Clerk                          CINCINNATI, OHIO 45202-3988                   www.ca6.uscourts.gov




                                                    Filed: January 19, 2016

Mr. Parks Tedford Chastain
Brewer, Krause, Brooks, Chastain & Burrow
611 Commerce Street
Nashville, TN 37203

Mr. Edward Jason Ferrell
Brewer, Krause, Brooks, Chastain & Burrow
611 Commerce Street
Nashville, TN 37203

Mr. Nicholas Joseph Owens Jr.
Owens Law Firm
214 Adams Avenue
Memphis, TN 38103

Mr. Bill M. Wade
The Cochran Firm
40 S. Main Street
Memphis, TN 38103

                     Re: Case No. 15-6026, Acuity Mutual Insur Co v. Reed & Assoc of TN, LLC, et al
                         Originating Case No. : 2:15-cv-02140

Dear Sir or Madam,

  The Court issued the enclosed (Order/Opinion) today in this case.

                                                    Sincerely yours,

                                                    s/Connie A. Weiskittel
                                                    Mediation Administrator

cc: Mr. Thomas M. Gould

Enclosure

No mandate to issue
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                                         Case No. 15-6026

                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT

                                             ORDER



ACUITY MUTUAL INSURANCE COMPANY

              Plaintiff - Appellant

v.

REED & ASSOCIATES OF TN, LLC; JUSTIN MCKEE; JACQUELYNE MCKEE

              Defendants - Appellees



     In accordance with Rule 33, Rules of the Sixth Circuit, and upon consideration of the

parties' stipulation to dismiss,

     It is ORDERED that the case is dismissed pursuant to 42(b), Federal Rules

of Appellate Procedure.

                                                  ENTERED PURSUANT TO RULE 33,
                                                  RULES OF THE SIXTH CIRCUIT
                                                  Deborah S. Hunt, Clerk


Issued: January 19, 2016
                                                  ___________________________________
